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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

The State of Texas, et al.,

                       Plaintiffs,
                                             Case No. 4:20-cv-00957-SDJ
v.
                                             Hon. Sean D. Jordan
Google LLC,

                       Defendant.



                     PLAINTIFF STATES’ MOTION TO AMEND THE
                       ORDER APPOINTING SPECIAL MASTER
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                                        INTRODUCTION

       The Court has a crowded docket with this complex case demanding disproportionate effort.

At the last status conference, the States recognized the extensive work this Court must do to get

this case ready for trial—not to mention the rest of the Court’s docket. As the Court has already

appointed David T. Moran to serve as Special Master for the parties’ discovery disputes, see Dkt.

213, the States proposed having Special Master Moran help resolve some pretrial disputes. See

Dkt. 791 (Tr. 33:13–23). This proposal would allow for an efficient process, see id. at 6:16–22,

while also allowing the Court and its staff to work on other cases and carefully review any key

disputes the parties continue to press after the Special Master has ruled. The civil rules expressly

provide for special masters to assist overburdened courts, and these circumstances more than

warrant expanding Special Master Moran’s authority to cover specific, limited pre-trial matters.

       Google opposes the proposal, insisting that its consent is needed—which it entirely refuses

to give. See id. at 36:8–15. This opposition is all the more surprising when its own actions have

greatly multiplied the Court’s work in this case. It has sought page limitations far beyond those

provided for in the local rules. It filed eleven Daubert motions, two summary judgment motions,

multiple motions for bifurcation, to strike, and for other relief. And Google wants still more

briefing on additional issues of law, and after that, demands that this Court issue detailed findings

of fact and conclusions of law resolving the States’ claims rather than having a jury decide. Even

while it adds to the Court’s workload, Google continues to demand that the Court rule on its

motions with greater dispatch. See generally Dkt. 787. Demanding that the Court shoulder an

ever-larger workload alone is untenable, and not required by the civil rules.

       The Court should modify Special Master Moran’s authority to cover specific pretrial

matters.


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                                      LEGAL STANDARD

        District courts may appoint a special master to “address pretrial and posttrial matters that

cannot be effectively and timely addressed by an available district judge or magistrate judge of the

district.” Fed. R. Civ. P. 53(a)(1)(C). This practice of “appoint[ing] masters to participate in

pretrial proceedings has developed extensively” recently because of the demands on district courts

in “managing complex litigation.”       Fed. R. Civ. P. 53 advisory committee’s note to 2003

amendment. Still, district courts should appoint special masters “only when the need is clear.” Id.

After a special master is appointed because of a clear need, the order appointing the special master

“may be amended at any time after notice to the parties and an opportunity to be heard.” Fed. R.

Civ. P. 53(b)(4); see Shafer v. Army & Air Force Exch. Serv., 376 F.3d 386, 395 (5th Cir.)

(discussing the proper process for amending an order appointing a special master), clarified by No.

03-10074, 2004 WL 2107672 (5th Cir. Sept. 17, 2004).

                                          ARGUMENT

I.      Rule 53 Authorizes Special Masters To Rule On Pretrial Issues Under The
        Circumstances Here.

     A. The Text of Rule 53 Allows the Requested Relief.

        Under the plain language of Rule 53, district courts may appoint special masters for three

disjunctive reasons. First, they may appoint special masters to “perform [any] duties consented to

by the parties.” Fed. R. Civ. P. 53(a)(1)(A). Second, they may appoint special masters to “hold

trial proceedings and make or recommend findings of fact on issues to be decided without a jury

if appointment is warranted by” either “some exceptional condition” or “the need to perform an

accounting or resolve a difficult computation of damages.” Fed. R. Civ. P. 53(a)(1)(B). Third,

they may appoint special masters to “address pretrial and posttrial matters that cannot be

effectively and timely addressed by an available district judge or magistrate judge of the district.”

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Fed. R. Civ. P. 53(a)(1)(C). The text of the rule uses the conjunction “or” to separate subsections

(A), (B), and (C), making clear that any one of the three is sufficient. Fed. R. Civ. P. 53(a)(1).

This Motion targets “pretrial . . . matters,” and so is predicated on subsection (C).

       The facts here meet the requirements of subsection (C). The pretrial proceedings for this

case will be highly complex, involving nearly twenty parties, millions of documents, depositions

from scores of witnesses, and more than twenty experts. The parties will narrow the case down,

but even so, pretrial proceedings will be substantial, and the time to resolve the issues may be

compressed. Google can hardly disagree—its own motion to strike the jury demand insisted that

the case was too complex to be tried to a jury, see Dkt. 690 at 9, and its own application for a status

conference and associated letter all-but-complained that in Google’s view the Court already is not

“timely address[ing]” the motions it has filed, Dkts. 758, 787. These factors justify expanding

Special Master Moran’s duties, even over Google’s objection. See United States v. Conservation

Chem. Co., 106 F.R.D. 210, 225 (W.D. Mo. 1985). There are also tens of thousands of pages of

deposition transcripts that have been produced in the three related cases. Disputes over the

designation of deposition excerpts will certainly be thorny. As the Second Circuit has explained,

“district courts with loaded dockets may rely on special masters to decide thorny things.” Fikes

Wholesale, Inc. v. HSBC Bank USA, N.A., 62 F.4th 704, 719 (2d Cir. 2023).

       In short, given Google’s throw-everything-at-the-wall litigation strategy, there is little

doubt that resolving pretrial issues will be at best a heavy lift and at worst trench warfare. There

is no reason for this Court to bear that burden alone given the presence of a highly qualified Special

Master who is familiar with the case. The Court should expand Special Master Moran’s role to

have him resolve, in the first instance, pre-trial disputes regarding the following:

               Deposition designation objections.


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               Exhibit list objections.

               The admissibility of summary exhibits.

               Whether materials designated as confidential may be shown in open court.

               Witness lists.

   B. Google’s Objection Is Without Merit.

       At the status conference, Google suggested that “to the extent this [appointment] pertains

to trial evidence, we think that would require consent from Google, and we do not intend to consent

to trial of any issue before . . . the special master.” Dkt. 791 (Tr. 36:8-15). This Motion does not

contemplate that Special Master Moran would “hold trial proceedings” under Rule 53(a)(1)(B),

though the Rule does authorize such proceedings under “some exceptional condition,” even

without Google’s consent. Rather, the Motion seeks to have Special Master Moran address

“pretrial . . . matters” under subsection (C).

       The inclusion of the consent requirement in Rule 53(a)(1)(A) but not in Rules 53(a)(1)(B)

and (C) shows that consent is not required for an order under those two subsections. Cf. Bus.

Guides, Inc. v. Chromatic Commc’ns Enters., Inc., 498 U.S. 533, 546 (1991) (when interpreting a

rule of civil procedure the Court considers what is “the most natural reading”); Brown v. Gardner,

513 U.S. 115, 120 (1994) (inclusion of a word in one statutory section and not the other shows

Congress’s intent for the word to apply to only the section it is in). Courts across the country have

therefore held that consent is unnecessary for appointment of a special master under Rule

53(a)(1)(C). See Trull v. Dayco Prods., LLC, 178 F. App’x 247, 251 (4th Cir. 2006) (per curiam);

In re Cap. One 360 Sav. Acct. Int. Rate Litig., No. 1:24-md-03111, 2024 WL 3463952, at *2 (E.D.

Va. July 18, 2024); Curtis Park Grp., LLC v. Allied World Specialty Ins. Co., No. 1:20-cv-00552,

2021 WL 4438037, at *3 (D. Colo. Sept. 28, 2021); see also In re RW, No. 2023-08, 2024 WL


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514324, at *9 n.12 (A.F. Crim. App. Feb. 9, 2024) (noting that consent is unnecessary under Rule

53(a)(1)(C)).

       True, the Court must give notice of the possibility that it will amend the order appointing

Special Master Moran and give Google a chance to be heard. See Fed. R. Civ. P. 53(b)(4). And,

given Google’s objection, any factual finding or legal conclusion Special Master Moran makes

will be subject to de novo review. Fed. R. Civ. P. 53(f)(3), (4). But that does not mean the Court

lacks the power to expand Special Master Moran’s powers.

       Rule 53’s requirement that this Court review any of Special Master Moran’s factual

findings and legal conclusions de novo eliminates any concerns under Article III of the

Constitution. See In re KSRP, Ltd., 809 F.3d 263, 265 n.1 (5th Cir. 2015); Anderson v. Bureau of

Prisons, 265 F. App’x 326, 327–28 (5th Cir. 2008) (per curiam); see also Moore v. Wilson, 843

F.2d 1391 (table), 1988 WL 31516, at *1 (6th Cir. 1988) (per curiam) (“Article III of the

Constitution requires that the district court make de novo review” if “a party files timely and

specific objections.”). Thus, the Court may expand Special Master Moran’s powers despite

Google’s “consent” objection.

II.    District Courts Often Refer Pretrial Issues To Special Masters.

       The States understand that some pretrial issues should be decided by the Court in the first

instance; procedural matters regarding how trial will occur should be handled by the Court because

it knows how it will oversee the trial. For example, it makes no sense for Special Master Moran

to decide the hours that trial will happen each day. But other issues need not be presented to the

Court first. For example, objections to deposition designations or to inclusion of evidence on

exhibit lists may be extensive and can all be handled efficiently by Special Master Moran.




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       Because of the broad power that district courts have under Rule 53(a)(1)(C) to appoint

special masters to handle pretrial proceedings, it is unsurprising that courts often use special

masters in exactly the way that the States propose here.

              One party “view[ed] th[e] case as the only case on [the court’s] docket.” Allscripts

               Healthcare, LLC v. Andor Health, LLC, No. 1:21-00704, 2022 WL 2254358, at *10

               (D. Del. June 21, 2022). Because the court had appointed a special master for

               discovery in the case, it held that, assuming there would be many pretrial disputes,

               it would expand the special master’s duties to include all pretrial evidentiary issues.

               See id.

              In a broad delegation of authority, “[t]he Court specifically tasked the special

               master with aiding the parties in resolving objections to deposition designations,

               determining the reliability of summary exhibits, eliminating irrelevant or

               cumulative evidence and resolving any other issues or disputes relating to the

               parties’ witness and exhibit lists.” Powell v. Carey Int’l, Inc., 547 F. Supp. 2d 1281,

               1289–90 (S.D. Fla. 2008) (cleaned up), aff’d, 323 F. App’x 829 (11th Cir. 2009)

               (per curiam).

              In another broad delegation, “the Special Master was appointed . . . to handle . . .

               certain exhibits, and deposition excerpts.” Stone Brewing Co., LLC v. MillerCoors

               LLC, No. 3:18-cv-00331, 2022 WL 3021697, at *3 (S.D. Cal. July 29, 2022).

              The Southern District of Illinois appointed a special master with power to

               “[e]valuate the parties’ objections to deposition designations and make

               recommendations and reports to the Court on these objections”; “[e]valuate any

               motions in limine and provide the Court with formal and informal recommended


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            rulings on those motions”; and “[e]valuate any other motions the parties may file,

            and provide the Court with formal and informal recommended rulings on those

            motions.” Bartolini ex rel. H.B. v. Abbott Lab’ys, Inc., No. 3:13-cv-00326, 2017

            WL 2868424, at *2 (S.D. Ill. July 5, 2017). The court previously used the same

            procedure “with great success.” Id. at *1.

           In United States v. Aetna, Inc., the district court required that motions relating to

            deposition designations and motions on some evidentiary issues be heard by a

            special master. See 1:16-cv-01494 (JDB), 2016 WL 8738424, at *1–3 (D.D.C. Nov.

            4, 2016).

           Less than two weeks later, a special master was tasked with ruling on “various

            deposition designations for use at trial.” United States v. Anthem, Inc., No. 1:16-

            cv-01493 (ABJ), 2016 WL 11164030, at *1 (D.D.C. Nov. 14, 2016). As the docket

            numbers for Aetna and Anthem show, two different district judges gave special

            masters the power to rule on evidentiary issues less than two weeks apart.

           Besides deposition designations, the Western District of Pennsylvania had all

            disputes about trial exhibits submitted to a special master because of the volume

            and complexity of the issues involved. Sherwin-Williams Co. v. PPG Indus., Inc.,

            No. 2:17-cv-01023, 2021 WL 6061546, at *1 (W.D. Pa. Dec. 21, 2021).

           The Central District of California expanded a special master’s powers to include

            ruling on motions in limine. Pinn, Inc. v. Apple Inc., No. 8:19-cv-01805, 2021 WL

            4777134, at *1 (C.D. Cal. July 14, 2021).

           The Western District of Pennsylvania similarly referred motions in limine to a

            special master. See Axiall Corp. v. descote S.A.S., No. 2:15-cv-00250, 2017 WL

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               9487085, at *1 (W.D. Pa. Oct. 27), report and recommendation adopted by 2017

               WL 5957748 (W.D. Pa. Dec. 1, 2017).

       There are many more examples of district courts across the country using special masters

much like the States propose here. What the States seek is common in a case as complex as this

one. The Court should follow the lead of these other courts and expand Special Master Moran’s

mandate to include pretrial issues.

       Google’s objection makes no difference to this analysis. Most parties in complex litigation

recognize that they are not the only litigants before a district court, see Fed. R. Civ. P. 53 advisory

committee’s note to 2003 amendment, but Google’s contrary position does not warrant a different

path. Courts routinely reject other obstinate parties’ objections to the appointment of special

masters and this Court should do the same. Recently, plaintiffs in a complex case in the Eastern

District of Virginia objected to the appointment of a special master to handle pretrial matters. The

court appointed the special master despite the objection. As it explained, “[a] master, unlike a

magistrate judge, can devote full attention to the procedural and factual complexities of” the case.

In re Cap. One 360, 2024 WL 3463952, at *2. The same is true here. Special Master Moran can

spend significantly more time resolving pretrial disputes. This Court, of course, has a full docket

of cases that it is managing, and other litigants should not have their cases languish.

                                          CONCLUSION

       The Court should amend the Order Appointing Special Master to permit Special Master

Moran to resolve certain pretrial matters.




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                                 CERTIFICATE OF SERVICE

       I certify that on February 20, 2025, this document was filed electronically in compliance

with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

Local Rule CV-5(a)(3)(A).

                                                      /s/ Noah S. Heinz



                              CERTIFICATE OF CONFERENCE

       I certify that the Parties conferred via teleconference regarding the Plaintiff States’ Motion

to Amend the Order Appointing Special Master. Counsel for Google Kathy Patrick and counsel

for Plaintiff States Noah Heinz spoke by telephone conference on February 17, and Google

indicated that it was opposed to all relief sought in the motion.

                                                      /s/ Noah S. Heinz




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